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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA
                                                      THIRD-PARTY PETITION TO
                       - v. -                         ADJUDICATE PETITIONERS’
                                                      INTEREST IN FORFEITED PROPERTY
    YVETTE WANG                                       AND TO AMEND THE PRELIMINARY
    a/k/a “Yanping,”                                  ORDER OF FORFEITURE -
    a/k/a “Y,”
                                                      VERIFIED CLAIM OF
                       Defendant.                     HIMALAYA INTERNATIONAL
                                                      FINANCIAL GROUP, LTD.,
                                                      HIMALAYA INTERNATIONAL
                                                      RESERVES, LTD., HIMALAYA
                                                      INTERNATIONAL CLEARING, LTD.,
                                                      HIMALAYA CURRENCY CLEARING
                                                      PTY LTD., HAMILTON CAPITAL
                                                      HOLDING, LTD., AND HAMILTON
                                                      OPPORTUNITY FUND SPC

                                                      S4 23 Cr. 118 (AT)



         Petitioners Himalaya International Financial Group, Ltd. (“HIFG”), Himalaya

International Reserves, Ltd. (“Himalaya International Reserves”), Himalaya International

Clearing, Ltd. (“Himalaya International Clearing”)1, Hamilton Capital Holding, Ltd (“HCH”),

Himalaya Currency Clearing, Ltd. (“Himalaya Currency Clearing”)2, and Hamilton Opportunity

Fund SPC (“Hamilton”) (together, Himalaya Group, Exchange Service Companies, and Hamilton

are the “Petitioners”) file this Third-Party Petition to Adjudicate Petitioners’ Interest in Forfeited

Property and to Amend the Preliminary Order of Forfeiture, pursuant to 21 U.S.C. § 853(n) and

Federal Rule of Criminal Procedure 32.2(c) (the “Petition”). Petitioners seek the return of funds in



1
  Collectively, HIFG, Himalaya International Reserves and Himalaya International Clearing are
the “Himalaya Group.”
2
    Collectively, HCH and Himalaya Currency Clearing are “Exchange Service Companies.”

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which Petitioners have a legal right, title, and/or interest (“Petitioners’ Property”) (as defined

below) and that the United States Government (the “Government”) seized as part of an order of

forfeiture entered into with Defendant Yvette Wang (“Defendant Wang”). However, any order of

forfeiture reaching the funds in the Accounts is unlawful and improper as Defendant Wang has no

legal right, title, or interest in the Accounts or the funds therein. The Forfeiture Order3 is therefore

rendered invalid as to Petitioners’ Property because the right, title, or interest in Petitioners’

Property was vested in Petitioners rather than Defendant Wang, and was superior to any right, title,

or interest of Defendant Wang at the time of the commission of the acts which gave rise to the

Forfeiture Order. As such, this Court should amend the Forfeiture Order to remove Petitioners’

Property from the Forfeiture Order and order that the Government immediately return Petitioners’

Property to Petitioners.4 In support of Petitioners’ claim, Petitioners respectfully state as follows:

I.     PRELIMINARY STATEMENT

       This Petition is aimed primarily to stop the forfeiture of funds that belong to legitimate

Customers of a legitimate business – the Himalaya Exchange (the “Exchange”) – and to return

such funds to those Customers. As part of Defendant Wang’s sentencing, the Government seeks

to forfeit hundreds of millions of dollars of funds in various accounts without showing that these

funds have the requisite nexus to the charges to which Defendant Wang pled guilty. In the


3
  Reference is to the Consent Preliminary Order of Forfeiture as to Specific Property/Money
Judgment (the “Forfeiture Order”) that this Court entered on January 7, 2025, with consent from
Defendant Wang. ECF No. 488.
4
  The ultimate goal here is to return any funds properly invested by Petitioners’ customers and/or
investors in the Exchange (“Customers”) to the Customers themselves. As such, Petitioners reserve
the right to request that any part of Petitioners’ Property that came from Customers is returned
directly to such Customers. Additionally, to the extent any Customers file petitions in this matter,
Petitioners reserve the right to endorse the legal theories in such petitions, and to make the
arguments in this Petition – or some portion of this Petition – in the alternative, solely to be applied
in case the Court deems that Petitioners’ Property remains the legal property of Petitioners, rather
than the Customers.

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Superseding Information (as defined below), there is only one allegation with respect to the

Exchange - that “coconspirators” (not even Defendant Wang herself) “made false representations

to investors that. . .they would receive cryptocurrency in exchange for their investments into the

Himalaya Exchange.” Superseding Information at 2. However, it is unclear what nexus exists

between this allegation and the attempted forfeiture of Petitioners’ Property.

       If the Government is taking the position that Defendant Wang made any misrepresentations

regarding the Exchange – and it is not even clear the Government is making this allegation – such

representations were not authorized by the Exchange or made as an agent of the Exchange, and the

Exchange bears no responsibility for any such statements. The only representations from the

Exchange to investors about the mechanics of the Exchange, including what Customers would

receive, were those contained in the terms and conditions of the Exchange and the White Papers

of the Exchange, which were reviewed by lawyers in 12 jurisdictions and published on the

Exchange website. The Exchange bears no responsibility for any other statements made by any

other actors about how the Exchange operates, particularly if such statements are contradicted by

the clear statements in the White Papers and the terms and conditions of the Exchange. And,

importantly, despite the Government’s contentions otherwise, Petitioners staunchly maintain that

any of the Exchange’s Customers who invested in Himalaya Exchange did receive cryptocurrency

(assuming they passed the requisite Know-Your-Customer (“KYC”) protocol), which is verified

by the cryptocurrency auditor, Armanino LLP, and the cryptocurrency expert, Maggie Sklar.

       It is unclear what basis the Government has for attempting this forfeiture of the Exchange’s

accounts. It is even more unclear what basis the Government has for attempting the forfeiture of

the accounts of the other entities discussed herein, which are only tangentially related to the




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Exchange. The Government cannot rely on Defendant Wang’s “consent” to seize accounts without

proving the requisite nexus.

          As will be shown below, Petitioners are all the named owners of their respective Accounts

and thus have a valid property interest in Petitioners’ Property - the funds in the Accounts.

Petitioners’ Property cannot be seized by the Government in this case. Neither Defendant Wang,

nor the Government who now stands in her shoes, have demonstrated that they have the requisite

interest in Petitioners’ Property to justify forfeiture under the law. While Defendant Wang

consented to the forfeiture of “all her right, title, and interest” in Petitioners’ Property in the

Forfeiture Order (ECF No. 488 at 2-3), her consent has no legal bearing as to Petitioners’ Property.

Defendant Wang cannot forfeit property that she does not own, and in which she has no interest.

In fact, it appears that the Court never established that Petitioners’ Property is even subject to

forfeiture in the first instance, as required by Fed.R.Crim.P. 32.2(b)(1)(A). Due to the

Government’s improper seizures, the Exchange’s operations have been frozen, jeopardized, and

continue to be jeopardized to this day.

          For all the foregoing reasons, and for the reasons demonstrated below, Petitioners

respectfully request that this Court: (1) grant this Petition; (2) amend the Forfeiture Order to

exclude Petitioners’ Property; (3) order the immediate return of Petitioners’ Property to

Petitioners5; (4) order that Petitioners are entitled to recover Petitioners’ attorneys’ fees and costs

incurred in connection with this Petition and grant Petitioners leave to submit an application for

such attorneys’ fees and costs; and (5) grant such and other relief that is necessary and just.




5
    With the caveat noted in footnote 4, supra.



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II.    BACKGROUND FACTS

       A. The Himalaya Exchange – Overview

       1.      The Himalaya Group owns and operates the Exchange – a cryptocurrency6

exchange.

       2.      The Exchange employs stringent onboarding protocols, comprehensive Anti-

Money Laundering (“AML”) and KYC checks and proper regulatory mapping as to where they

can provide their services and the prohibition of providing services in jurisdictions in which they

still were required to obtain licenses, including the U.S.

       3.      The Exchange has more than 10,000 customers. The Exchange facilitates the

buying and selling of two types of digital assets: the Himalaya Dollar, known as the “HDO”

(“HDO”) and the Himalaya Coin, known as the “HCN” (the “HCN”).

       4.      The HDO is a “stable coin” token that is intended to be fixed to the U.S. dollar and

was at all times backed by reserves consisting of dollar-for-dollar cash or cash-equivalent assets

(the “Reserves”). At all times prior to the Government’s seizures of the Accounts, the Reserves

contained assets that were equivalent in value to all HDO’s in circulation at any given time. The

Reserves will be discussed more fully below.

       5.      The HCN is a trading cryptocurrency valued by supply and demand. Customers use

HDO to purchase HCN and then can sell HCN to obtain HDO, which can be redeemed back to fiat

U.S. dollar.




6
 Again, we note the Government’s position that the Exchange was not a legitimate cryptocurrency,
however, Petitioners strongly disagree and maintain that a preponderance of the evidence will
show that the Exchange was, indeed, a legitimate cryptocurrency and that the facts stated herein
are correct.

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       B. The Himalaya Group Entities Relevant to this Petition, their Role in the Operation
          of the Exchange, and their Seized Property

              i)      Himalaya International Clearing

       6.     Himalaya International Clearing is an entity organized under the laws of the British

Virgin Islands (“BVI”).

       7.     The Himalaya International Clearing’s trading name is Himalaya Exchange.

       8.     Himalaya International Clearing maintains bank accounts that serve as clearing

accounts for customer deposits and redemptions (the “Clearing Accounts”) (as more fully defined

below).

       9.     When a customer purchases HDOs, the customer’s cash payment is initially

deposited into a Clearing Account. In exchange, the customer receives a credit for an equivalent

number of HDOs. The customer can then use his or her HDO credits to buy and sell HCNs, the

Exchange’s market-traded cryptocurrency. When customers buy and sell HCNs, they are credited

or debited HDOs in an amount corresponding to the market price of the HCN at the time of the

transaction. When customers want to redeem their HDOs back into U.S. dollars, this redemption

also occurs through the Clearing Accounts, with cash being sent back from the Clearing Accounts

to the customer's personal bank account.

       10.    The Government seized two of Himalaya International Clearing’s bank accounts.

The first bank account seized by the Government is as follows:

       $14,599,257.25 in United States currency formerly on deposit in account number
       7801000254 at FV Bank, held in the name of “Himalaya International Clearing,
       Ltd.” and seized by the Government on or about September 20, 2022 (23-FBl-
       000051).




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Original Forfeiture Order7 at 3; Forfeiture Order at 3. This bank account will be hereinafter referred

to as the “FV Clearing Account.” The second Clearing Account that was seized by the Government

is as follows:

       $10,008,284.04 in United States currency formerly on deposit in account number
       MBl10133-0000 at Mercantile Bank International, held in the name of “Himalaya
       International Clearing Ltd.” and seized by the Government between on or about
       October 16, 2022, and on or about March 10, 2023 (23-FBl-000289).

Original Forfeiture Order at 4; Forfeiture Order at 4. This bank account will be hereinafter referred

to as the “Mercantile Clearing Account.”

       11.       The FV Clearing Account and the Mercantile Clearing Account contain the funds

of the Exchange’s customers.

                 ii)    Himalaya International Reserves

       12.       Himalaya International Reserves is a limited company incorporated in the BVI.

       13.       Himalaya International Reserves owns the bank accounts that hold funds that make

up the cash reserves backing the HDO (the “Reserves Accounts”) (as more fully described below).

       14.       The Reserve Accounts also consist of customer funds.

       15.       After a customer purchases HDOs, funds processed in the Clearing Accounts are

often sent to the Reserves Accounts, where they back the HDOs. Likewise, when customers seek

to redeem their HDOs back to hard currency, money in the Reserves Accounts travels back to the

Clearing Accounts to meet the redemption request. In addition, the Clearing Accounts discussed

above also contain a large buffer of reserves to facilitate customer redemptions.

       16.       Himalaya International Reserves is also the entity that issues the HDOs.


7
  Reference is to the Consent Preliminary Order of Forfeiture as to Specific Property/Money
Judgment (“Original Forfeiture Order”) entered by this Court on May 3, 2024, as consented to by
Defendant Wang. ECF No. 329.



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       17.     At all times prior to the Government seizures, the Reserves Accounts held cash or

cash-equivalent assets that backed 100% of the HDOs in circulation at any given time. This is

supported by two audits conducted by Armanino LLP – a reputable stable coin auditor. A true and

correct copy of the supporting Armanino reports are attached hereto as Exhibit A and Exhibit B.

These audits were done soon after the exchange was launched and then a few months before the

seizures occurred.

       18.     The Government seized two bank accounts held by Himalaya International

Reserves. The first bank accounts seized by the Government is as follows:

       $4,643,744.70 in United States currency formerly on deposit in account number
       7801000590 at FV Bank, held in the name of “Himalaya International Reserves,
       Ltd.” and seized by the Government on or about September 20, 2022 (23-FBl-
       000050).

Original Forfeiture Order at 3; Forfeiture Order at 3. This bank account will be hereinafter referred

to as the “FV Reserves Account.” The second Himalaya International Reserves account that was

seized by the Government is as follows:

       $272,350,429.22 in United States currency formerly on deposit in account number
       MBl10138-0000 at Mercantile Bank International, held in the name of
       “Himalaya International Reserves Ltd.” and seized by the Government between on
       or about October 16, 2022, and on or about March 10, 2023 (23-FBl-000290).

Original Forfeiture Order at 4; Forfeiture Order at 4. This bank account will be hereinafter referred

to as the “Mercantile Reserves Account.” Together, the FV Reserves Account and the Mercantile

Reserves Account are the “Reserves Accounts.”

       19.     Given the size of the Exchange and the size of the reserves prior to the seizure, the

Exchange held additional reserves in various other bank accounts in addition to the Reserves

Accounts and the Clearing Accounts discussed above. For example, prior to the seizure, the

Exchange had approximately $75 million in cash reserves that were held via one of Hamilton’s



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segregated funds, Hamilton FX Fund SP (the “FX Fund”). This will be discussed below.

               iii)    Himalaya International Financial Group, Ltd.

       20.     HIFG is an entity organized under the laws of BVI.

       21.     HIFG issues and manages the HCN.

       22.     HFIG’s bank accounts hold commissions or revenues earned by the Exchange (the

“Exchange Earnings”), which are largely used to meet operational expenses. Portions of the

Exchange Earnings were used for operating purposes and for certain discretionary loans; however,

Customer funds were never used for such purposes – again, the customer Reserve Accounts were

fully intact and accounted for at the time of the Government’s seizure of Petitioners’ Property.

       23.     The Government seized two of HFIG’s bank accounts. The first HIFG bank account

seized by the Government is as follows:

       $7,715.00 in United States currency formerly on deposit in account number
       7801000589 at FV Bank, held in the name of “Himalaya International Financial
       Group, Ltd.” and seized by the Government on or about September 20, 2022 (23-
       FBl-000011).

Original Forfeiture Order at 4; Forfeiture Order at 4. This bank account will be hereinafter referred

to as the “First HIFG Account.” The second HIFG account that was seized by the Government is

as follows:

       $310,594.31 in United States currency formerly on deposit in account number
       MBl10139-0000 at Mercantile Bank International, held in the name of
       “Himalaya International Financial Group Ltd.” and seized by the Government
       between on or about October 16, 2022, and on or about March 10, 2023 (23-FBl-
       000182).

Original Forfeiture Order at 4; Forfeiture Order at 4. This bank account will be hereinafter referred

to as the “Second HIFG Account.” The First HIFG Account and the Second HIFG account are

collectively, the “HIFG Accounts.”




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       C. Other Entities Relevant to the Operations of the Exchange

               iv)     Hamilton Capital Holding

       24.     Hamilton Capital Holding is an entity organized under the law of the United

Kingdom.

       25.     Hamilton Capital Holding provides various services to the Exchange. These

services include staffing, legal and compliance, accounting and finance, cybersecurity,

programming, marketing, customer services, and entering into contracts with third-party vendors.

Payments pursuant to these contracts are made through Hamilton Capital Holding.

       26.     The Hamilton Capital Holding account seized by the Government is as follows:

       $3,090,856.54 in United States currency formerly on deposit in account number
       MBl10137-0000 at Mercantile Bank International, held in the name of “Hamilton
       Capital Holding Ltd.” and seized by the Government between on or about October
       16, 2022, and on or about March 10, 2023 (23-FBl-000288).

Original Forfeiture Order at 4; Forfeiture Order at 4. This bank account will be hereinafter referred

to as the “First Services Account.”

               v)      Himalaya Currency Clearing

       27.     Himalaya Currency Clearing is an entity organized under the laws of Australia.

       28.     The Himalaya Currency Clearing account seized by the Government is as follows:

       $176,983.37 in United States currency formerly on deposit in account number
       MBl10183-0000 at Mercantile Bank International, held in the name of “Himalaya
       Currency Clearing Pty Ltd.” and seized by the Government on or about October 16,
       2022 (23-FBl-000183).




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Original Forfeiture Order at 58; Forfeiture Order at 4. This bank account will be hereinafter referred

to as the “Second Services Account.” Together, the First Services Account and the Second

Services Account are the “Services Accounts.”

               vi)     Hamilton FX Fund SP

       29.     The Hamilton FX Fund SP (the “FX Fund”) is a segregated portfolio of Hamilton.

Hamilton is Cayman Islands Segregated Portfolio Company operating as a mutual fund under

Section 4(3) of the Mutual Funds Law (Revised) of the Cayman Islands. Pursuant to the laws of

the Cayman Islands, the assets of Hamilton FX were kept segregated, separate, and separately

identifiable from those of any other segregated portfolios of Hamilton and any general assets of

Hamilton.

       30.     As discussed above, the FX Fund held additional HDO reserves for the Exchange

in its bank account. However, these funds had been seized by the Government. Specifically, FX

Fund’s account that was seized is as follows:

       $75,000,000.00 in United States currency formerly on deposit in account number
       5090037705 at Silvergate Bank, held in the name of “Hamilton Opportunity Fund
       SPC” and seized by the Government on or about September 18, 2022 (23-FBl-
       000078).

Original Forfeiture Order at 2; Forfeiture Order at 2. This bank account will be hereinafter referred

to as the “FX Reserves Account.”

       31.     Together, the Clearing Accounts, the Reserves Accounts, HFIG Accounts, the

Services Accounts, and the FX Reserves Account are the “Accounts.”

       32.     Because Petitioners are the named account holder of its respective accounts as

described above, and because they exercise full dominion and control over the funds in those


8
 In the Original Forfeiture Order, the amount in the Second Services Account was listed as
$161,809.47. See Original Forfeiture Order at 5.

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respective accounts, each Petitioner has a property interest in its respective funds deposited the

Accounts (collectively, the “Petitioners’ Property”).

       D. The Criminal Case of Defendant Wang and Defendant Guo

       33.     On March 6, 2023, the Government filed an indictment against Defendant Wang,

Defendant Guo, and a third defendant, William Je, who has never been arraigned. ECF No. 2.

       34.     On May 3, 2024, the Government filed a superseding information (the

“Superseding Information”) against Defendant Wang. ECF No. 325. The Superseding Information

charged Defendant Wang with one count of Conspiracy to Commit Wire Fraud (Count I)

(Superseding Information at 1-2) and one count of Conspiracy to Commit Money Laundering

(Count II) (Superseding Information at 2-4). The Superseding Information also contained a

Forfeiture Allegation (the “Forfeiture Allegation”). Superseding Information at 4.

       35.     On the same day, May 3, 2024, Defendant Wang pled guilty to Count I and Count

II as charged in the Superseding Information.

       36.     Also on May 3, 2024, this Court entered the Original Forfeiture Order. ECF No.

329.

       37.     In the Original Forfeiture Order, Defendant Wang consented to forfeit, “all her

right, title, and interest in” certain assets, including the Accounts, because such property

purportedly “constitute[ed] proceeds of the offenses charged in Count One that the Defendant

personally obtained and/or property involved in offense charged in Count Two of the

[Superseding] Information.” Original Forfeiture Order at 2-6 (emphasis added).

       38.     Defendant Guo did not plead guilty to any of the offenses charged against him.

Accordingly, a jury trial was held between May 22, 2024 and July 16, 2024 (the “Guo Trial”). On

July 16, 2024, the jury found Defendant Guo guilty of racketeering conspiracy, conspiracy to

commit wire fraud, conspiracy to commit money laundering, conspiracy to commit securities


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fraud, securities fraud, wire fraud, and money laundering. ECF No. 395. As of the date of this

Petition, Defendant Guo has not yet been sentenced.

        39.     On January 6, 2025, Defendant Wang was sentenced.

        40.     On January 7, 2025, this Court entered the Forfeiture Order. ECF No. 488. As it

pertains to Petitioners, the Forfeiture Order is substantially similar to the Original Forfeiture Order

in all material respects. In the Forfeiture Order, Defendant Wang consented to forfeit, “all her

right, title, and interest in” certain assets, including the Accounts, because such property

purportedly “constitute[ed] proceeds of the offenses charged in Count One that the Defendant

personally obtained and/or property involved in offense charged in Count Two of the

[Superseding] Information.” Forfeiture Order at 2-11 (emphasis added).

III.    ARGUMENT

        41.     In an ancillary criminal forfeiture proceeding pursuant to 21 U.S.C. § 853(n) and

Federal Rule of Criminal Procedure 32.2(c)(1), this Court must determine, by a preponderance of

the evidence, whether a petitioner has a legal right, title, or interest in the property to be forfeited,

and whether such right, title, or interest renders the order of forfeiture invalid, in whole or in part,

because such interest was vested in the petitioner rather than the defendant, or was superior to any

right, title, or interest of the defendant at the time of the commission of the acts which gave rise to

the forfeiture of the property. See 21 U.S.C. § 853(n)(6)(A).

        42.     Here, Petitioners have a legal right, title, or interest in Petitioners’ Property pursuant

to 21 U.S.C. §853(n)(6)(A) because they are the legal owners of the Accounts and exercise

dominion and control over the funds contained therein. Moreover, Petitioners’ interest in

Petitioners’ Property was both vested in Petitioners and was superior to any right Defendant Wang

had in Petitioners’ Property because Defendant Wang had no legal right, title or, interest in

Petitioners’ Property. In other words, Defendant Wang could not forfeit her interest in the


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Accounts because she had no interest that was properly subject to criminal forfeiture. Accordingly,

the Forfeiture Order should be amended to remove Petitioners’ Property, and Petitioners’ Property

should be returned to the Petitioners.9

          A. The Government Failed to Demonstrate that the Funds in the Accounts Were
             Properly Subject to Forfeiture in the First Instance, Making the Forfeiture Order
             Improper as to Such Funds

          43.    The Government has no legal cause to retain Petitioners’ Property because the

Government has failed to present any evidence to demonstrate that Petitioners’ Property

constitutes forfeitable property as required by Fed.R.Crim.P. 32.2(b)(1)(A).

          44.    “When the government seeks to obtain an order of forfeiture, ‘Federal Rule of

Criminal Procedure 32.2(b)(1) ... requires the sentencing court to determine what property is

subject to forfeiture under the applicable statute.’” United States v. Watts, 786 F.3d 152, 172 (2d

Cir. 2015) (citing United States v. Capoccia, 503 F.3d 103, 109 (2d Cir.2007)). Pursuant to

Fed.R.Crim.P. 32.2, “if the government seeks forfeiture of specific property, the court must

determine whether the government has established the requisite nexus between the property and

the offense.” Fed.R.Crim.P. 32.2.(b)(1)(A) (emphasis added); U.S. v. Watts, 786 F.3d at 172. “At

various points in the proceedings, the government bears the burden of proving this legal

conclusion to varying degrees of certainty: as a matter of probable cause at a post-indictment

hearing. . .or by a preponderance of the evidence at a bench trial or before a jury.” Id. (emphasis

added) (internal citations omitted). “Only if the government meets the relevant legal threshold,

however, may the property in question be considered ‘subject to forfeiture’ in any legal sense.

Prior to that, while the government has simply announced its intent to seek forfeiture through the

indictment, the property is seen merely as ‘potentially forfeitable’ . . . or ‘potentially subject to



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    Again, with the caveat noted in footnote 4, supra.

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forfeiture.’” Id. (internal citations omitted).

         45.    This means that before the court even reaches the question of whether the

Petitioners are entitled to the return of the property under §853(n), it is necessary to determine if

the property in dispute is actually forfeitable in the first instance. If not, the government had no

statutory authority to seize the property. If the property was improperly seized, the government

must return the accounts seized regardless of whether the claimant can meet the criteria set forth

in §853(n). See e.g. United States v. Delco Wire & Cable Co., 772 F. Supp. 1511, 1518 (E.D.PA,

1991).

         46.    A full and complete Fed. R. Crim. P. 32.2(b)(1)(A) inquiry is critical to the fair

administration of justice. The entire forfeiture system rests upon the supposition that a court has

conducted an inquiry and determined that the property is subject to forfeiture. In enacting ancillary

proceeding statutes, Congress chose to place the burden of proof on the third-party during an

ancillary proceeding, since “the United States will have already proven its forfeiture allegations in

the criminal case beyond a reasonable doubt.” S. REP. 98-225, 209, 1984 U.S.C.C.A.N. 3182,

3392.

         47.    In this matter, there has never been a determination that there exists a nexus

between the Accounts and any of the offenses with which Defendant Wang was charged (and to

which she pled guilty), and, as a result, Petitioners are forced to file this Petition.

         48.    As to Count I, the Forfeiture Allegation states that, “[a]s a result of committing the

wire fraud offense alleged in Count One of this Superseding Information, YVETTE WANG, a/k/a

“Yanping” a/k/a “Y,” the defendant, shall forfeit to the United States pursuant to Title 18, United




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States Code, Section[] 981(a)(1)(C)10. . .and Title 28, United States Code, Section 2461(c), any

and all property, real and personal, that constitutes or is derived from proceeds traceable to the

commission of said offense.” Superseding Information at 4.

       49.     The Government must prove the elements of forfeiture under 18 U.S.C. §

981(a)(1)(C) by a preponderance of the evidence. 18 U.S.C. § 983(c)(1). Moreover, “if the

Government’s theory of forfeiture is that the property was used to commit or facilitate the

commission of a criminal offense, or was involved in the commission of a criminal offense, the

Government shall establish that there was a substantial connection between the property and the

offense.” 18 U.S.C. § 983(c)(3).

       50.     In Defendant Wang’s criminal case, the Government has not shown how funds in

the Accounts are, or are derived from, proceeds traceable to Defendant Wang’s conspiracy to

commit wire fraud. The Superseding Information alleges that “[f]rom at least in or about 2018

until at least on or about March 15, 2023, coconspirators made false representations to investors

that they would receive stock in exchange for their investments in GTV, the Himalaya Farm

Alliance organization, and GClubs, and that they would receive cryptocurrency in exchange for

their investments in the Himalaya Exchange [(the “Fraud Scheme”)]. Through the [Fraud Scheme],

YVETTE WANG, a/k/a ‘Yanping,’ a/k/a ‘Y,’ the defendant, and her coconspirators, including

Miles Guo, induced investors to invest more than $1 billion into entities Guo controlled.”

Superseding Information at 2 (emphasis added).

       51.     There is nothing from these allegations that show a direct nexus between the charge



10
  18 U.S.C. § 981(a)(1)(C) provides that “[a]ny property, real or personal, [is subject to forfeiture]
which constitutes or is derived from proceeds traceable to a violation of” various specified
offenses, including violations of 18 U.S.C. § 1343, wire fraud, as charged against Defendant Wang
in Count I.



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of conspiracy to commit wire fraud and the Accounts. There is no evidence that Defendant Wang

(as opposed to unidentified purported “coconspirators”) made any false statements regarding the

receipt of cryptocurrency to anyone, and certainly not to any customers who invested in the

Exchange. Here, Petitioners believe that the preponderance of evidence will show that,

notwithstanding the Government’s position to the contrary, all customers who deposited money

into the Exchange did receive cryptocurrency and were able to redeem that cryptocurrency prior

to the seizures. As such, any statements about the receipt of cryptocurrency would not be false and

would therefore not be fraudulent. The Superseding Information is therefore silent on any

information that would indicate there is a nexus between funds in the Accounts and Defendant

Wang’s wire fraud charge, let alone sufficient evidence to determine that the Government met its

burden of showing, and the Court properly adjudicated, that the appropriate nexus exists for

forfeiture of the Accounts to be proper.

       52.     As to Count II, the Forfeiture Allegation states that, “[a]s a result of committing the

money laundering offense alleged in Count Two of this Information, YVETTE WANG, a/k/a

“Yanping” a/k/a “Y,” the defendant, shall forfeit to the United States pursuant to Title 18, United

States Code, Section 982(a)(1)11, any and all property, real and personal, involved in said offense,

or any property traceable to such property, including but not limited to a sum of money in United

States currency representing the amount of property involved in said offense.” Superseding

Information at 4. As to Count II, The Government “must prove the elements of forfeiture under 18

U.S.C. § 982(a)(1) by a preponderance of the evidence.” U.S. v. Beltramea, 785 F.3d 287, 290 (8th




11
  18 U.S.C. § 982(a)(1) provides that “[t]he court, imposing sentence on a person convicted of an
offense in violation of section 1956 [the money-laundering statute] of this title . . . shall order that
the person forfeit to the United States any property, real or personal, involved in such offense, or
any property traceable to such property.” 18 U.S.C. § 982(a)(1) (emphasis added).

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Cir. 2015).

       53.     The Superseding Information alleges that Defendant Wang committed conspiracy

to launder money because Defendant Wang “knowing that the property involved in certain

financial transactions represented the proceeds of some form of unlawful activity, would and did

conduct and attempt to conduct such financial transactions. . .and which in fact involved the

proceeds of specified unlawful activity, to wit, proceeds of the wire fraud scheme alleged in Count

One of this Information.” Superseding Information at 3.

       54.     Here, the Accounts cannot be forfeited for the money laundering charge in Count

II. From the allegations, the charge of money laundering arises from Defendant Wang engaging in

financial transactions with the “proceeds of the wire fraud scheme alleged in Count One.”

Superseding Information at 3. As argued above, the Government has not met its burden of

demonstrating how the funds in the Accounts were related to the Fraud Scheme alleged in Count

I (see ¶¶ 48-51, above) – there is no information from which to glean that such funds “constitute[d]

or [were] derived from proceeds traceable to the commission of” wire fraud. See e.g. 18 U.S.C. §

981(a)(1)(C). Accordingly, such funds could not serve as the basis for the money laundering

charge in Count II and cannot be forfeited as part of Defendant Wang’s conviction for Count II.

       55.     The overt acts that the Government alleges to support the money laundering charge

further fail to show how the funds in the Accounts can be forfeitable. In the Superseding

Information, the Government sets forth two acts evidencing money laundering.12 Superseding

Information at 3.

       56.     First, per the Superseding Information, on May 20, 2020, Defendant Wang opened



12
  Although the Government states that these two overt acts were “among others” that Defendant
Wang committed in furtherance of the alleged conspiracy to launder money (Superseding
Information at 3), these other acts are not identified.

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a bank account in the name of GTV. Superseding Information at 3. Notably, none of the Accounts

were in the name of GTV. Also, according to the Superseding Information, on June 2, 2020,

Defendant Wang transferred approximately $200 million to the GTV account. Id. The funds

transferred into the GTV account were from a JP Morgan Chase Bank account held by Saraca

Media, Group, Inc. (“Saraca”) (Guo Trial, 05/31/2024, 953:25-954:4; Guo Trial, 06/26/2024,

4359:1-14), not from any of the Accounts.

       57.     The second act the Government alleges in the Superseding Information for Count

II is that “on or about June 5, 2020,” Defendant Wang “authorized a wire transfer of $100 million

from GTV’s parent company, Saraca Media, Group, Inc., to a high-risk hedge fund, for the benefit

of Saraca and its ultimate beneficial owner, Guo’s son.” Superseding Information at 3-4. This

plainly alleges that the money was transferred from a Saraca account, which the Accounts were

demonstrably not.13

       58.     As seen from above, there is not a sufficient nexus between Defendant Wang’s

charges and the Accounts to permit a forfeiture of the Accounts. There are no allegations in the

Superseding Information with respect to specific Accounts, any specific investments that the

Government deems fraudulent, or how Defendant Wang acquired interest in the Accounts that she

can now forfeit. The only concrete reference in the record as to the Accounts in Defendant Wang’s

case is Defendant Wang’s consent to forfeit these funds. However, “a defendant’s consent to

forfeiture [does not] abrogate the requirement that a nexus exist between the property sought for

forfeiture and the conviction of offense.” Beltramea, 785 F.3d at 291. As the Eighth Circuit

stressed, “[t]he district court had an independent duty to ensure that the required nexus exists.” Id.




13
  It should be noted that the $100 million transfer from Saraca was to the Hayman Hong Kong
Opportunities Onshore Fund L.P., an entity that has no relationship to any of the Petitioners.

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(emphasis added).

        59.     Here, there are no factual allegations in the Superseding Information in the Original

Forfeiture Order or the Forfeiture Order as to an alleged nexus between the Accounts and the

offenses to which Defendant Wang pled guilty.

        B. Petitioners Have an Interest in Petitioners’ Property Because They are the Named
           Owners of the Accounts

        60.     Here, Petitioners have a legal interest and right in the funds in Accounts by virtue

of being the named owners of the Accounts associated with them and having complete dominion

and control over the funds in their respective Accounts. Thus, Petitioners have standing to

challenge the Forfeiture Order.

        C. Petitioners Have a Superior Interest in the Petitioners’ Property

        61.     Petitioners’ interest in Petitioners’ Property is superior to any interest that the

Government or Defendant Wang have in Petitioners’ Property.

        62.     21 U.S.C. § 853(n) is clear that, in addition to establishing Petitioners’ interest in

the forfeited property, that Petitioners must demonstrate, by a preponderance of the evidence, that

Petitioners’ interest “renders the order of forfeiture invalid in whole or in part because the right,

title, or interest was vested in the petitioner rather than the defendant or was superior to any right,

title, or interest of the defendant at the time of the commission of the acts which give rise to the

forfeiture of the property under this section.” 21 U.S.C. § 853(n)(6)(A) (emphasis added).

        63.     Here, as set forth above, the Government never met their burden of proof to show

that the Accounts were property that would be properly subject to forfeiture in Defendant Wang’s

case. As such, the Government never demonstrated that its interest in the Accounts is superior to

that of Petitioners.

        64.     To be sure, “[u]nlike a civil forfeiture action, which is an in rem proceeding brought



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against the property sought to be forfeited, criminal forfeiture is an in personam proceeding. . .[it]

is a sanction against the individual defendant rather than a judgment against the property itself. . .

Thus, in a criminal forfeiture proceeding, the Government acquires only the defendant's interest in

the property. Because criminal forfeiture follows the defendant as part of his penalty, the

Government may seize any of the defendant’s property that is traceable to the proceeds of criminal

conduct.” U.S. v. Bailey, No. 1:11CR10, 2012 WL 569744, at *14 (W.D.N.C. Feb. 22, 2012)

(internal citations omitted) (emphasis in original).

       65.     It is axiomatic that neither the Government nor Defendant Wang can argue that they

have a superior interest in a property in which they never had an interest. Accordingly, Petitioners’

interest in the Account is superior to that of Defendant Wang and the Government.

       D. Petitioners Are Entitled to Costs and Attorneys’ Fees

       66.     Petitioners have been required to retain legal counsel and have incurred costs to file

this petition asserting Petitioners’ right to Petitioners’ Property and to challenge the forfeiture of

Petitioners’ Property. Upon prevailing in this proceeding, Petitioners reserve all rights to recover

attorneys’ fees and costs incurred in connection with this Petition and may recover Petitioners’

costs and reasonable attorneys’ fees pursuant to the Equal Access to Justice Act (“EAJA”), 28

U.S.C. § 2412. Federal courts have consistently held that § 853(n) proceedings are civil for the

purposes of allowing a successful claimant to collect attorney’s fees under the EAJA. See United

States v. Cox, 575 F.3d 352, 355 (4th Cir. 2009); United States v. Douglas, 55 F.3d 584, 588 (11th

Cir. 1995); U.S. v. Bailey, 2015 WL 1893610 at *20 (W.D.N.C. Apr. 27, 2015).

IV.    CONCLUSION

       67.     For the reasons stated above, Petitioners have an interest in Petitioners’ Property,

which renders the Forfeiture Order invalid as to such property. See e.g. 21 U.S.C. § 853(n)(6)(A).

Defendant Wang does not have any right, title, or interest in Petitioners’ Property, and never did.


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Petitioners have proven, and can prove at any necessary hearing, by preponderance of evidence

that the Forfeiture Order needs to be amended to exclude Petitioners’ Property.

          68.    Therefore, Petitioners respectfully request that this Court: (1) grant this Petition;

(2) amend the Forfeiture Order to exclude Petitioners’ Property; (3) order the immediate return of

Petitioners’ Property to Petitioners14; (4) order that Petitioners are entitled to recover Petitioners’

attorneys’ fees and costs incurred in connection with this Petition and grant Petitioners leave to

submit an application for such attorneys’ fees and costs; and (5) grant such and other relief that is

necessary and just.

Dated: April 7, 2025                                   Respectfully submitted,

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     Again, with the caveat noted in footnote 4, supra.



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